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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                        )
 EQUITY FORWARD,                        )
 85 Broad Street                        )
 New York, NY 10004                     )
                                        )
                             Plaintiff, )
                                        )
 v.                                     )                 Case No. 18-cv-1815
                                        )
 U.S. DEPARTMENT OF                     )
 HEALTH AND HUMAN SERVICES,             )
 200 Independence Avenue SW             )
 Washington, DC 20201                   )
                                        )
                            Defendant. )
                                        )

                                         COMPLAINT

       1.      Plaintiff Equity Forward brings this action against the U.S. Department of Health

and Human Services under the Freedom of Information Act, 5 U.S.C. § 552 (FOIA), and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and injunctive

relief to compel compliance with the requirements of FOIA.

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

       4.      Because Defendant has failed to comply with the applicable time-limit provisions

of the FOIA, Equity Forward is deemed to have exhausted its administrative remedies pursuant

to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to judicial action enjoining the agency from



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continuing to withhold agency records and ordering the production of agency records improperly

withheld.

                                             PARTIES

       5.      Plaintiff Equity Forward is a watchdog project that seeks to hold accountable

groups and individuals who are actively working to deny people access to reproductive health

care services. Through research and FOIA requests, Equity Forward uses the information

gathered, and its analysis of it, to educate the public about the activities and operations of the

federal government regarding reproductive health through its own public information campaigns

and dissemination of information to other public interest groups.

       6.      Defendant the U.S. Department of Health and Human Services (HHS) is a

department of the executive branch of the U.S. government headquartered in Washington, D.C.,

and an agency of the federal government within the meaning of 5 U.S.C. § 552(f)(1). HHS has

possession, custody, and control of the records that Equity Forward seeks.

                                    STATEMENT OF FACTS

       7.      On May 31, 2018, Equity Forward submitted a FOIA request to HHS seeking

access to the following records:

               (1)     Any travel records concerning trips taken by HHS officials
               in Texas, Arkansas, or any other state concerning military
               installations intended to shelter undocumented immigrant children
               or unaccompanied minors.

                       (a)    This should include but not be limited to: all records
                       documenting itineraries, schedules, receipts, written
                       approvals, accommodations, expenses reimbursed costs, and
                       any other documents outlining any travel undertaken by
                       HHS official(s) during the stated time frame.

               (2)    Any calendars noting times and dates of scheduled meetings
               involving HHS official(s) with other federal officials or personnel
               responsible for sheltering unaccompanied minors, including lists of



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               attendees for scheduled meetings with any other relevant individual,
               group, task force, agency, or organization during the time frame
               stated above.

               (3)     All digital correspondence, written correspondence, and
               phone records involving HHS official(s) pertaining to this topic
               since January 1, 2018.

                      (a)    “Digital correspondence” should include but not be
                      limited to copies of all emails sent by, sent to, or carbon
                      copying (“CC”) any of these HHS officials and any
                      correspondence sent by or to any of these HHS officials via
                      messaging platform(s), including but not limited to Google
                      Hangouts (Gchat), Slack, Lync, or Signal.

               (4)     Any and all written documentation or any form of public or
               private communication including but not limited to memorandums,
               presentations, notes, speeches, meetings, agendas, meeting notes
               including but not limited to HHS officials’ participation in site visits
               at any and all military installations and/or bases in Texas and
               Arkansas or any other state.

               (5)    Any records as outlined above as well as any and all
               communication or digital correspondence between HHS officials
               Alex Azar, Eric Hargan, Steven Wagner, Maggie Wynne, and Scott
               Lloyd and Department of Defense (DOD) officials.

               (6)   Any records as outlined above as well as any and all
               communication or digital correspondence between Alex Azar, Eric
               Hargan, Steven Wagner, Maggie Wynne, and Scott Lloyd and
               Department of Homeland Security (DHS) officials.

       8.      Equity Forward sought all responsive records from January 1, 2018, through the

date of the search. A copy of the request is attached hereto as Exhibit A and incorporated herein.

       9.      HHS assigned the request tracking number 2018-01050-FOIA-OS.

                             Exhaustion of Administrative Remedies

       10.     As of the date of this complaint, HHS has failed to (a) notify Equity Forward of

any determination regarding its FOIA request, including the scope of any responsive records

HHS intends to produce or withhold and the reasons for any withholdings; or (b) produce the




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requested records or demonstrate that the requested records are lawfully exempt from

production.

        11.    Through HHS’s failure to respond to Equity Forward’s FOIA request within the

time period required by law, Equity Forward has constructively exhausted its administrative

remedies and seeks immediate judicial review.

                                           COUNT I
                               Violation of FOIA, 5 U.S.C. § 552
                  Failure to Conduct Adequate Search for Responsive Records

        12.    Equity Forward repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

        13.    Equity Forward properly requested records within the possession, custody, and

control of HHS.

        14.    HHS is an agency subject to FOIA and must therefore make reasonable efforts to

search for requested records.

        15.    HHS has failed to promptly review agency records for the purpose of locating

those records which are responsive to Equity Forward’s FOIA request.

        16.    HHS’s failure to conduct an adequate search for responsive records violates

FOIA.

        17.    Plaintiff Equity Forward is therefore entitled to injunctive and declaratory relief

requiring Defendant to promptly make reasonable efforts to search for records responsive to

Equity Forward’s FOIA request.




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                                        COUNT II
                            Violation of FOIA, 5 U.S.C. § 552
                  Wrongful Withholding of Non-Exempt Responsive Records

       18.      Equity Forward repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

       19.      Equity Forward properly requested records within the possession, custody, and

control of HHS.

       20.      HHS is an agency subject to FOIA and must therefore release in response to a

FOIA request any non-exempt records and provide a lawful reason for withholding any

materials.

       21.      HHS is wrongfully withholding non-exempt agency records requested by Equity

Forward by failing to produce non-exempt records responsive to its FOIA request.

       22.      HHS is wrongfully withholding non-exempt agency records requested by Equity

Forward by failing to segregate exempt information in otherwise non-exempt records responsive

to Equity Forward’s FOIA request.

       23.      HHS’s failure to provide all non-exempt responsive records violates FOIA.

       24.      Plaintiff Equity Forward is therefore entitled to declaratory and injunctive relief

requiring Defendant to promptly produce all non-exempt records responsive to its FOIA request

and provide indexes justifying the withholding of any responsive records withheld under claim

of exemption.

                                     REQUESTED RELIEF

WHEREFORE, Equity Forward respectfully requests the Court to:

       (1) Order Defendant to conduct a search or searches reasonably calculated to uncover all

             records responsive to Equity Forward’s FOIA request;




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      (2) Order Defendant to produce, within twenty days of the Court’s order, or by such other

          date as the Court deems appropriate, any and all non-exempt records responsive to

          Equity Forward’s FOIA request and indexes justifying the withholding of any

          responsive records withheld under claim of exemption;

      (3) Enjoin Defendant from continuing to withhold any and all non-exempt records

          responsive to Equity Forward’s FOIA request;

      (4) Award Equity Forward the costs of this proceeding, including reasonable attorneys’

          fees and other litigation costs reasonably incurred in this action, pursuant to 5 U.S.C.

          § 552(a)(4)(E); and

      (5) Grant Equity Forward such other relief as the Court deems just and proper.



Dated: August 2, 2018                               Respectfully submitted,

                                                    /s/ Cerissa Cafasso
                                                    Cerissa Cafasso
                                                    D.C. Bar No. 1011003

                                                    /s/ John E. Bies
                                                    John E. Bies
                                                    D.C. Bar No. 483730

                                                    /s/ Austin R. Evers
                                                    Austin R. Evers
                                                    D.C. Bar No. 1006999

                                                    /s/ Hart W. Wood
                                                    Hart W. Wood
                                                    D.C. Bar No. 1034361

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